Case 2:22-cv-04363-JTM-MBN Document 1 Filed 11/02/22 Page 1 of 6
Case 2:22-cv-04363-JTM-MBN Document 1 Filed 11/02/22 Page 2 of 6
Case 2:22-cv-04363-JTM-MBN Document 1 Filed 11/02/22 Page 3 of 6
Case 2:22-cv-04363-JTM-MBN Document 1 Filed 11/02/22 Page 4 of 6
Case 2:22-cv-04363-JTM-MBN Document 1 Filed 11/02/22 Page 5 of 6
Case 2:22-cv-04363-JTM-MBN Document 1 Filed 11/02/22 Page 6 of 6
